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By ECF and Hand Deli~~c►-y



Hon. J. Curtis Joyner
United States District Court for the Eastern District of Pennsylvania
601 Market Street
Philadelphia, PA 19106-1709
Fax: (215) 580-2312

        Re:           Pfizer Inc. v. Johnson &Johnson et al., 2:17-cv-4180 (E.D. Pa.)

Dear Judge Joyner:

       We represent Defendants Johnson &Johnson and Janssen Biotech, Inc.(collectively,
"Janssen") in the above-captioned action. Enclosed is a courtesy copy of the Corrected
Memorandum of Law in Support of Defendants' Motion to Dismiss. The memorandum filed last
week (ECF No. 27) did not accurately describe how "Average Sales Price," a government pricing
term, can be calculated. We have corrected those references on three pages of the brief and
apologize to the Court for the oversight on our part.

                                                                   Respectfully submitted,

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                                                                   William F. Cavanaugh



cc:      All counsel of record (by ECF~
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                   UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF PENNSYLVANIA



PFIZER INC.,
                                              Civil Action No. 2:17-cv-4180 (JCJ)
                       Plaintiff,

      vs.

JOHNSON & JOHNSON and JANSSEN
BIOTECH, INC.,


                       Defendants.




            CORRECTED MEMORANDUM OF LAW IN SUPPORT OF
                  DEFENDANTS’ MOTION TO DISMISS
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       Defendants Johnson & Johnson and Janssen Biotech, Inc. (collectively “Janssen”)

respectfully submit this corrected memorandum of law in support of their motion to dismiss,

pursuant to Federal Rule of Civil Procedure 12(b)(6), Pfizer Inc.’s (“Pfizer”) complaint.

                              PRELIMINARY STATEMENT
       Disappointed with the sales of its recently launched biologic Inflectra, Pfizer now seeks

to blame Janssen for the drug’s lack of success rather than its own apparently meager efforts to

compete. Pfizer’s complaint is long on its alleged grievances against Janssen and the discounts

and rebates Janssen has offered. But the complaint carefully avoids addressing what Pfizer has

actually done or could have done to try to convince payors (like health care insurers such as

Aetna and Cigna) to include Inflectra on their formularies and to encourage medical providers

(like hospitals and physicians) to use Inflectra, among the wide range of other immunology drugs

(including Remicade) approved by the Food and Drug Administration (“FDA”). Instead, Pfizer

seeks to dictate and circumscribe the nature of the price incentives Janssen can offer in order to

reduce the degree to which Pfizer would have to price compete and cut into its own profits.

       There are multiple, obvious explanations for why Inflectra may not yet have more sales.

Pfizer’s complaint recognizes that (1) Remicade has a long and successful clinical history with

which physicians and payors are familiar, whereas biosimilars like Inflectra do not; (2) the FDA

has not deemed Inflectra to be interchangeable with Remicade; (3) Remicade is cost-effective

and widely covered due in part to the rebates and discounts that Janssen provides to payors and

providers; (4) the FDA has approved several drugs for the treatment of the same indications as

Inflectra, and Inflectra must compete against all of these drugs, including Remicade, to succeed;

and (5) the entire concept of a “biosimilar” is new, with the first biosimilar approval in 2015, so

physicians are not familiar with them. Pfizer’s complaint ignores the consequences of these

factors, which cut against the rapid adoption of Pfizer’s biosimilar drug Inflectra.


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       The Supreme Court has made clear that the antitrust laws do not exist to protect

competitors such as Pfizer from vigorous competition—particularly price competition. They

exist to protect the competitive process. Consequently, an antitrust plaintiff must allege

sufficient facts demonstrating that its alleged injury is the type the antitrust laws were designed

to remedy and that the harm plausibly flows from the defendants’ alleged anticompetitive

conduct. In short, the antitrust laws do not exist to remedy an injury of the plaintiff’s own

making by its unwillingness to compete.

       As detailed below, Pfizer has not pled facts (as opposed to conclusory allegations)

showing that Janssen’s discounts and rebates, rather than Pfizer’s own unwillingness to offer

lower prices on Inflectra or bundled discounts on Pfizer’s many profitable, billion-dollar

products, are the cause of Inflectra’ s alleged poor record to date. Without such facts, Pfizer

cannot plausibly plead that the cause of its alleged harm has been Janssen’s competitive strategy.

Hence, the complaint fails to adequately plead antitrust injury or harm to competition, and

therefore does not meet the pleading requirements in Ashcroft v. Iqbal, 556 U.S. 662 (2009) and

Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007). Pfizer’s claims fail for two distinct

reasons:

       First, the complaint is silent on whether Pfizer has sought to compete against Janssen by

offering bundled discounts on its own wide range of pharmaceutical products. As one of the

world’s largest pharmaceutical companies, Pfizer certainly has the capacity to do so. Pfizer’s

burden to plead harm to competition and antitrust injury due to Janssen’s practices is particularly

critical where there are multiple alternative explanations for why payors and providers might not

rapidly adopt Inflectra. The absence of facts alleged in the complaint addressing this issue

requires dismissal because there is an insufficient nexus between the alleged anticompetitive




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conduct and Pfizer’s alleged harm. It is just as plausible that Pfizer’s failure to offer competing

bundles (as well as the other factors described above) has caused providers and payors to decline

to adopt Inflectra to the degree Pfizer apparently desired.1

        Second, there is another crucial element missing in the story Pfizer tells in its complaint.

Pfizer does not plead whether it has actually offered a lower net price to payors on Inflectra than

the net price to payors that Janssen has offered on Remicade, after all discounts and rebates are

taken into account. Nor has it pled facts demonstrating that it is incapable of doing so. Pfizer

only alleges that it offered a modest discount on Inflectra versus Remicade’s list price by

introducing Inflectra at a list price of 15% off Remicade’s list price. But the complaint says little

to nothing about whether or to what extent Pfizer has offered discounts and rebates sufficient to

compete with Remicade to payors, the powerful healthcare insurers that require pharmaceutical

companies to compete on price to gain preferred status on their formularies of approved drugs

for their insureds.

        Pfizer attempts to distract the Court with the allegation that the “list price” for Remicade

has increased. But as Pfizer is well aware, the list price known as Wholesale Acquisition Cost

(“WAC”) does not take into account rebates or discounts to providers or payors, and the Average

Sales Price (“ASP”) reported by the government does not reflect current rebates or discounts on

Remicade. ASPs are based on blended annual averages of rebates and discounts, meaning the

ASPs cited by Pfizer are based in part on rebates and discounts as they existed prior to the launch


1
  Pfizer attacks two alleged forms of “bundled” discounts that Janssen allegedly offers. The first are
discounts on Remicade bundled with discounts on other Janssen pharmaceutical products. It also alleges
that Janssen “bundles” rebates and discounts for Remicade that apply to both use by stable patients who
are responding favorably to treatment with Remicade (the so-called “incontestable patients”) and new
patients who could be prescribed Remicade, Inflectra or another immunology drug (the so-called
“contestable patients”). This novel antitrust theory was rejected the only time it has been presented to the
Third Circuit. See Eisai, Inc. v. Sanofi Aventis U.S., LLC, 821 F.3d 394, 406 (3d Cir. 2016). But the
Court need not reach that issue on this motion.



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of Inflectra. Nor do ASPs isolate the rebates given to payors to secure the preferred formulary

position Pfizer complains about. Consequently, Inflectra and Remicade’s WACs and ASPs do

not disclose whether the net price of Inflectra to payors is currently higher or lower than the net

price of Remicade. Noticeably absent in the complaint are factual allegations that the discounts

and rebates Pfizer offered when it launched Inflectra resulted in a lower net price for Inflectra to

payors compared to Remicade. It is at least equally plausible that Pfizer’s failure to offer a lower

net price is responsible for the alleged failure of payors to prefer Inflectra over Remicade on their

formularies. As in the case of the complaint’s failure to address Pfizer’s efforts to offer

competing “bundles” of discounts and rebates, Pfizer’s failure to plead facts showing that it

offered payors a lower net price requires dismissal.

         In response, Pfizer will likely point to its allegation that it offered discounts off Inflectra’s

list price. But Pfizer does not allege that its net price to payors for Inflectra was lower than the

net price (as opposed to the ASP or WAC) for Remicade. Pfizer also might point to its

conclusory allegations that any competition would be futile because matching Remicade’s

bundled discounts and rebates would take Inflectra below Pfizer’s cost of producing the drug.

No facts supporting that conclusory allegation are provided in the complaint, and conclusory

allegations are not sufficient to support a claim. Further, the complaint is silent on whether

Pfizer could offer discounts across its portfolio of multi-billion-dollar products that could match

those offered by Janssen without having to sell below its costs.

         Pfizer’s complaint should be dismissed for failure to plead facts sufficient to state a

claim.




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                          STATEMENT OF ALLEGED FACTS
I.     REMICADE, INFLIXIMAB BIOSIMILARS, AND OTHER COMPETING DRUGS
       A.      Remicade and its established history in the market helping patients
       Janssen launched Remicade, the innovative form of infliximab, in 1998 for the treatment

of Crohn’s disease. Compl. ¶ 38. Remicade suppresses the body’s inflammatory response to

human tumor necrosis factor and thus can treat a variety of autoimmune diseases. Id. ¶¶ 35–36.

Since its launch, Remicade has been approved to treat a number of additional conditions,

including rheumatoid arthritis, ulcerative colitis, and plaque psoriasis. Id. ¶¶ 35, 83. It now has

a 19-year-long track record with payors, providers and patients. Id. ¶¶ 2–3, 38–39.

       B.      Biosimilars and other products that treat the same indications as Remicade
       Remicade is a biologic, which is a term that refers to drugs that are grown in living cells.

Id. ¶¶ 1, 28. Biologics are “complex mixtures that are not easily identified or characterized” and

are vastly more complex than traditional drugs “which are chemically synthesized and whose

structure is known,” making it impossible to manufacture bioequivalent “generic” copies of

biologics. Id. ¶¶ 28–29. Recognizing this, Congress enacted the Biologics Price Competition

and Innovation Act (“BPCIA”) in 2010. Id. ¶¶ 4, 32. The BPCIA provides a pathway for

companies to enter the market with biologic drugs that the FDA concludes are biosimilar to

innovator biologic drugs. Id. ¶¶ 32–33. Inflectra is among the first biosimilars to launch in the

U.S.—the very first biosimilar (unrelated to infliximab) was approved only in 2015. Id. ¶ 4. The

FDA approved Pfizer’s Inflectra biosimilar on April 5, 2016, and Pfizer began shipping the drug

in November 2016. Id. ¶ 5.

       Unlike generic drugs, simply because the FDA has found a biologic to be biosimilar to an

innovator biologic, that does not mean it is “interchangeable” with the innovator biologic and

can automatically be substituted for the innovator biologic without the physician prescriber’s



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approval. Id. ¶ 34. The BPCIA provides a mechanism for biosimilar drugs to be designated as

interchangeable, which would allow substitution without the intervention of a doctor, but

Inflectra has not secured such a designation. Id.

        Many other biologic and non-biologic drugs are approved to treat the same indications as

Remicade. Another infliximab biosimilar sold by Merck & Co., Renflexis, was launched in the

United States in July 2017. Id. ¶ 99. And, as Pfizer acknowledges in its complaint, in addition to

the infusion products, a number of non-infusion products like oral medications and injectables

(such as Humira and Enbrel) are “indicated to treat the Relevant Indications” for which

Remicade is approved. Id. ¶ 86. Enbrel and Humira are as or more successful than Remicade,

with combined sales that eclipse Remicade’s sales many times over.2

II.     DISTRIBUTION OF AND REIMBURSEMENT                     FOR INFUSION DRUGS SUCH AS
        REMICADE AND INFLECTRA
        As infusion products, Remicade and Inflectra are distributed to hospitals and private

physicians that operate infusion centers that administer the drugs to patients suffering from an

indicated medical condition. Compl. ¶ 87. These providers purchase the drugs to administer

them to patients. Id. ¶ 89.

        Every branded prescription drug has a published WAC, often known as the list price for

the drug. Id. ¶ 5 & n.1. For drugs administered by a health care provider, such as infusion drugs,

as Pfizer alleges, manufacturers may offer these providers discounts and rebates off of WAC to

incentivize the provider to utilize the drug if appropriate for a patient. Id. ¶¶ 74, 76. Whether it


2
  In the second quarter of 2017, for example, Remicade’s sales in the United States were $1.064 billion.
See Ex. A (Johnson & Johnson Quarterly Earnings Release for Q2 2017) at 7. Enbrel sales for the same
quarter in the United States were $1.411 billion, and Humira sales were $3.201 billion. See Ex. B
(Amgen 10Q for Q2 2017) at 29 (Enbrel); Ex. C (AbbVie 10Q for Q2 2017) at 25 (Humira). The Court
may take judicial notice of revenue information contained in SEC statements and in company earnings
releases. See In re Astea Int’l Inc. Sec. Litig., 2007 U.S. Dist. LEXIS 58238, at *18 n.5 (E.D. Pa. Aug. 8,
2007) (citing In re NAHC, Inc. Sec. Litig., 306 F.3d 1314, 1331 (3d Cir. 2002)).



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is a hospital or an infusion center administering a drug such as Remicade, all of these entities

seek to be reimbursed for their efforts. Id. ¶¶ 50, 89.

          Health care insurers (often referred to as payors) reimburse these entities based on

contracts negotiated with the providers. Id. ¶¶ 50, 54. As Pfizer alleges, healthcare insurers also

create what are known as formularies, which are lists of drugs for which the healthcare payor has

agreed to provide reimbursement. Many times these formularies have different tiers with certain

drugs listed as “preferred” drugs. Id. ¶ 52. Pharmaceutical companies, such as Pfizer and

Janssen, compete for preferred status on a payor’s formulary, in part, by offering the payor

rebates and discounts. Id. These reduce the net price the payor is ultimately paying for

reimbursement of a Pfizer or Janssen drug.

III.      P F I ZE R ’ S   M A R K E T I N G S T R AT E G Y F O R   INFLECTRA
          Pfizer, one of the largest pharmaceutical companies in the world, is a “research-based

international pharmaceutical company which researches, develops, manufactures, and sells

pharmaceutical products across the spectrum, from branded innovator products to generics and

over-the-counter medications.” Compl. ¶ 18. Pfizer markets a variety of blockbuster drugs, with

nine of its drugs each generating over a billion dollars in annual revenue as of last year.3 Pfizer

has a market capitalization of over $200 billion. Id.

          Pfizer alleges that when it launched Inflectra, Pfizer “set its initial list price, often

referred to as the wholesale acquisition cost (or ‘WAC’), at 15 percent below the then-current

WAC of Remicade.” Id. ¶ 5. As the complaint alleges, “WAC is the manufacturer’s published

list price to wholesalers or direct purchasers, not including prompt pay or other discounts,

rebates, or reductions in price.” Id. ¶ 5 n.1. Pfizer does not specify, however, what additional



3
    See Ex. D (Pfizer 2016 Annual Review) at 5.



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rebates or discounts it offered to payors or providers off of Inflectra’s WAC price, including

whether it made any attempts to offer bundled discounts across the range of pharmaceuticals that

it sells.

            Pfizer also alleges that Remicade’s ASP has increased since Inflectra was launched and

was higher as of September 2017. See id. ¶ 13 (“Remicade’s ‘average selling price’ (‘ASP’)—

which by federal law is the average of a drug’s pricing after taking into account discounts,

rebates, and other price concessions—actually has increased since Inflectra’s entry. As of

September 2017, Remicade’s ASP was more than 10 percent higher than Inflectra’s ASP.”).

Pfizer’s reference to Remicade’s ASP purposefully ignores two things. First, this does not take

into account how ASP is calculated. Reported ASPs, such as the September 2017 ASP cited by

Pfizer, are actually based on Remicade sales that occurred two quarters (i.e., six months)

previously. Id.; 42 C.F.R. § 414.804(a)(5). But even more importantly, the Remicade rebates

and discounts applied to those sales would be an average of the rebates and discounts paid during

that earlier quarter and the nine months before that quarter. 42 C.F.R. § 414.804(a)(3). Thus, the

ASPs cited by Pfizer include discounts and rebates for periods even before Inflectra’s launch.

See id. ¶ 5 (“Pfizer began shipping Inflectra in November 2016 … .”). Second, ASP does not

reflect the net price to payors because the calculation of ASP does not isolate the price reductions

attributable to discounts and rebates to payors specifically. See 42 C.F.R. § 414.804(a)(1)

(noting that ASP is calculated using “manufacturer’s sales to all purchasers”) (emphasis added).

As Pfizer itself alleges, Janssen offers providers and payors “attractive rebates on all Remicade

prescriptions” and after Inflectra was launched “began offering certain large providers additional

rebates and/or discounts.” Id. ¶¶ 66, 74. Yet, Pfizer is silent about what specific set of discounts




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and rebates Pfizer has offered to payors in order to seek favorable treatment on the formularies of

healthcare insurers.

                                        LEGAL STANDARD
        Under Federal Rule of Civil Procedure 12(b)(6), for a complaint to survive dismissal, it

“must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007)). In evaluating the sufficiency of a complaint, a court must accept all

well-pleaded allegations in the complaint as true and draw all reasonable inferences in favor of

the non-moving party. Warren Gen. Hosp. v. Amgen Inc., 643 F.3d 77, 84 (3d Cir. 2011). Courts

are not required, however, to credit bald assertions or legal conclusions improperly alleged in the

complaint. Id.

        As the Supreme Court has made clear, under these standards it is insufficient for a

plaintiff to plead “facts that are ‘merely consistent with’” liability. Iqbal, 556 U.S. at 678

(quoting Twombly, 550 U.S. at 557). A plaintiff instead must go beyond, and plead facts that

show that liability is not only possible, but that “nudge [the] claims . . . across the line from

conceivable to plausible.” Id. at 680.

I.      P F I ZE R  I S R E Q U I R E D TO A L L E G E S P E C I F IC FA C T S S H O W I N G TH AT I T H A S
        S U F F E R E D A N T I T R U S T I N J U RY A N D T H AT J A N S S E N ’ S R E B AT E A N D
        DISCOUNTING PRACTICES HARMED COMPETITION

        Unless Pfizer pleads facts showing how it has attempted to compete with Janssen,

Pfizer’s complaint fails to state a claim. The law applicable to Pfizer’s Section 1 and Section 2

claims under the Sherman Act and its Section 3 claim under the Clayton Act is effectively the

same. See Eisai, Inc. v. Sanofi Aventis U.S., LLC, 821 F.3d 394, 402 n.11 (3d Cir. 2016). Among

other elements of its claims, Pfizer must plead facts showing that Janssen “engaged in

anticompetitive conduct and that [Pfizer] suffered antitrust injury as a result.” Id. at 402; see



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also W. Penn Allegheny Health Sys., Inc. v. UPMC, 627 F.3d 85, 101 (3d Cir. 2010) (“[A]n

antitrust plaintiff must do more than show that it would have been better off absent the violation;

the plaintiff must establish that it suffered antitrust injury.”).

        Antitrust injury is an “injury of the type the antitrust laws were intended to prevent and

that flows from that which makes defendants’ acts unlawful.” Brunswick Corp. v. Pueblo Bowl-

O-Mat, Inc., 429 U.S. 477, 489 (1977). A mere causal link between some form of injury to a

plaintiff and a defendant’s conduct is insufficient to meet this requirement; rather, a plaintiff is

required to demonstrate an injury that is specifically attributable to “a competition-reducing

aspect or effect of the defendant’s behavior.” Atl. Richfield Co. v. USA Petroleum Co., 495 U.S.

328, 344 (1990). In other words, an antitrust injury “should reflect the anticompetitive effect

either of the violation or of anticompetitive acts made possible by the violation.” Brunswick, 429

U.S. at 489; see also Town Sound & Custom Tops, Inc. v. Chrysler Motors Corp., 959 F.2d 468,

486 (3d Cir. 1992) (plaintiff must plead “a plausible theory of causation of ‘injury of the type the

antitrust laws were designed to prevent’”) (quoting Brunswick, 429 U.S. at 489).

        The antitrust injury requirement ensures “that the harm claimed by the plaintiff

corresponds to the rationale for finding a violation of the antitrust laws in the first place.” Atl.

Richfield, 495 U.S. at 342. It also prevents plaintiffs from using the antitrust laws to compensate

them for harms that are “inimical” to the antitrust laws, such as those resulting from vigorous

price competition. See Brunswick, 429 U.S. at 488. Antitrust injury is a threshold question, and

a plaintiff’s failure to allege it requires dismissal. See, e.g., SigmaPharm, Inc. v. Mut. Pharm.

Co., 454 F. App’x 64, 66 (3d Cir. 2011) (affirming district court’s dismissal of antitrust claim for

lack of antitrust injury); City of Pittsburgh v. W. Penn Power Co., 147 F.3d 256, 268 (3d Cir.




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1998) (same); Schuylkill Energy Res., Inc. v. Penn. Power & Light Co., 113 F.3d 405, 410 (3d

Cir. 1997) (same).

       Consistent with this principle, it is a fundamental precept of the antitrust laws that they

“are concerned with ‘the protection of competition, not competitors.’” Eisai, 821 F.3d at 398–99

(quoting Brown Shoe Co. v. United States, 370 U.S. 294 (1962)). Accordingly, a plaintiff must

also be able to show that “competition, not merely competitors, has been harmed.” United States

v. Dentsply Int’l, Inc., 399 F.3d 181, 187 (3d Cir. 2005); see also ZF Meritor LLC v. Eaton Corp.,

696 F.3d 254, 347 (3d Cir. 2012) (same). Pfizer may not like having to compete with Janssen,

but there is no antitrust remedy for a competitor who has been subjected to robust competition.

II.    P F I ZE RC A N N O T S H O W I T S U F F E R E D A N A N T I T R U S T I N J U RY B E C A U S E I T
       FA I L S TO P L E A D FA C T S S H O W IN G T H AT I T A C T U A L LY AT T E M P T E D TO
       COMPETE

       In its complaint, Pfizer claims that Janssen has foreclosed Pfizer from the market by

inducing payors and providers to prefer the use of Remicade over the use of Inflectra. In

general, Pfizer complains that Janssen has agreed to provide rebates and discounts for the use of

Remicade as well as other Janssen products:

              “In short, insurers that decline J&J’s offer face a substantial financial penalty, and
               those that accept receive a payoff (multimillion dollar rebate payments) in return
               for their commitment to exclude biosimilars.” (Compl. ¶ 9).

              “In most cases these coercive biosimilar-exclusion contracts were the only
               economically viable option for insurers—as adopting any alternative would
               require the insurer to incur a substantial penalty (i.e., foregone rebates to existing
               Remicade patients) that could not be offset by the per-unit cost savings available
               on the number of patients likely to use the biosimilar, at least in the near term.”
               (Id. ¶ 64).

              “After Inflectra’s introduction, J&J began offering certain large providers
               additional rebates and/or discounts on Remicade, but only if the provider
               committed to buy Remicade for nearly all of its infliximab needs.” (Id. ¶ 74).

       Pfizer recognizes that one common form of competition in the pharmaceutical industry is

offering rebates and discounts to obtain favored status from payors and providers over other


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competing therapeutic options (with the result that the payors (and ultimately patients) benefit

from lower drug costs). See id. ¶ 52 (“Drug manufacturers compete, usually with rebates or

other price concessions, to obtain coverage under insurer medical policies and to have either

fewer restrictions on reimbursement than their competitors—or, at a minimum, to achieve

‘parity’ whereby the competing products have the same restrictions on reimbursement and the

patient and/or doctor can choose between them.”).

       Despite this admission that rebate and discount competition is standard practice in the

pharmaceutical business, Pfizer simply alleges, in conclusory fashion, that it cannot compete

with the “total amount of discounts and rebates that J&J offers to insurers and providers under

the contracts described herein, including multi-product bundle contracts,” and declares in equally

conclusory fashion that “competition to Remicade is foreclosed.” Id. ¶ 78. Pfizer does not plead

any specific facts to show how it actually tried to compete with Janssen through its own use of

rebates and discounts. Its pleading is therefore fundamentally deficient, in at least two respects.

       A.      Pfizer fails to allege it tried to compete using multi-product bundles
       There is a striking omission in Pfizer’s complaint. While Pfizer talks at length about

Janssen’s “bundled discounts,” Pfizer is silent on whether it has offered similar discounts and

rebates on its own products to compete with Remicade—particularly to payors. Pfizer—one of

the largest pharmaceutical companies in the world—never alleges that it is incapable of offering

competitive bundled discounts across its product lines. See, e.g., id. ¶¶ 9, 75.

       Merely pleading that Janssen offered bundled discounts, without more, is insufficient to

state a claim. There is nothing presumptively unlawful about bundled discounts, which often

offer the ultimate procompetitive benefit—lower prices. See, e.g., Eisai, 821 F.3d at 404

(bundled discounts only inappropriate where they deprive another party of any meaningful




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choice between competing products). Here, Pfizer fails to plead why it was incapable of offering

competing bundled discounts or rebates.

       The issue of bundled discounts was raised in Lepage’s, Inc. v. 3M, 324 F.3d 141 (3d Cir.

2003). On the specific facts before it, the Third Circuit held that “exclusive dealing and bundled

rebates . . . can sustain a verdict under § 2.” Id. at 144, 152. Importantly, in Lepage’s, the

plaintiff, unlike the defendant 3M, did not have access to a broad array of products and therefore

could not offer a competing bundled discount. In recognition of this fact, the Third Circuit in

Esai specifically noted that it had “limited the reasoning in LePage’s ‘to cases in which a single-

product producer is excluded through a bundled rebate program offered by a producer of

multiple products, which conditions the rebates on purchases across multiple different product

lines.’” 821 F.3d at 405 (quoting ZF Meritor, 696 F.3d at 274 n.11); see also id. at n.35 (“While

LePage’s remains the law of this Circuit, it has been the subject of much criticism.”).

       Indeed, other courts that have examined similar facts have found that, where a party can

offer its own bundle, it has no claim against a competitor for anticompetitive bundling. See, e.g.,

Invacare Corp. v. Respironics, Inc., 2006 U.S. Dist. LEXIS 77312, at *34–35 (N.D. Ohio Oct.

23, 2006) (noting that no “court has found a bundling practice anticompetitive” where plaintiff

“can sell a similar bundle”); Applied Med. Res. Corp. v. Ethicon, Inc., 2006 U.S. Dist. LEXIS

12845, at *9 (C.D. Cal. Feb. 2, 2006) (explaining that bundling has never been found to be

unlawful where a “challenger had an opportunity to compete for the bundle” or “a competitor

offered a similar bundle”). Pfizer accordingly should have pleaded facts to make plausible its

claim of injury that demonstrate that it somehow could not offer a bundle drawn from its own

broad product line. It has not pled such facts, and its unwillingness to offer a competing bundle




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in order to avoid offering lower prices (and perhaps earn lower profits) on its other products is

not a defense.

        There can be no dispute that Pfizer is one of the world’s largest pharmaceutical

companies with a broad range of billion-dollar drug products. Pfizer’s omission of allegations

regarding its own inability (as opposed to its unwillingness) to offer bundled discounts is all the

more striking given Pfizer’s allegations that discounts and rebates are a primary method of

competition between manufacturers. Without alleging that it actually tried to compete with

Janssen on this basis, Pfizer has failed to allege facts indicating that its lack of success in the

market is due to the alleged anticompetitive behavior by Janssen, as opposed to its own failure to

engage in competition. This is particularly relevant because the antitrust laws encourage

competitive conduct that lowers the prices of products to the benefit of purchasers. See Brooke

Grp. Ltd. v. Brown & Williamson Tobacco Corp., 509 U.S. 209, 223 (1993) (“Low prices benefit

consumers regardless of how those prices are set.”).

        Pfizer’s omission of allegations regarding its own competitive efforts is particularly

suspicious in light of its admissions regarding multiple other factors that, on their own, could

explain Inflectra’s lack of success. Pfizer admits that Remicade has a clinical history of nearly

two decades, and that it has been highly successful in treating multiple indications, giving

providers ample time to become familiar with and to rely on Remicade. Compl. ¶¶ 2–3, 39, 83.

In contrast, Inflectra has been on the market for barely a year. Id. ¶ 5. And Pfizer admits that

Inflectra has not been designated as “interchangeable” with Remicade. Id. ¶ 34 & n.10.

Providers are therefore required to make an affirmative decision to switch existing patients from

Remicade to Inflectra. Further, the entire category of biosimilars is new, with the first one




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approved only in 2015, so physicians and others in the health care industry are still learning

about biosimilars and are almost certainly cautious in their initial approaches.

       In light of these admissions, under Iqbal and Twombly, Pfizer has simply failed to allege

facts that nudge its claim across the line from conceivable to plausible.

       Twombly itself is instructive. In Twombly, the local exchange carrier defendants allegedly

all engaged in conduct that resulted in overcharges and poor service for customers of competing

exchange carriers. Plaintiffs alleged that the local exchange carriers did so to sabotage the

business prospects of the competing exchange carriers, and further alleged, in a general fashion,

that the defendants conspired with one another. 550 U.S. at 550–51. But plaintiffs did not plead

any specific facts supporting the existence of the alleged conspiracy, as opposed to the conduct

that caused them injury. The Supreme Court found that the allegations of parallel conduct by the

local exchange carriers, although “consistent with conspiracy,” was “just as much in line with a

wide swath of rational and competitive business strategy unilaterally prompted by common

perceptions of the market.” Id. at 554. The Supreme Court directed dismissal of the case for

failure to plead sufficient facts that made a showing of liability plausible, rather than possible.

Id. at 570. Pfizer’s complaint should meet the same result here.

       This shortcoming in Pfizer’s complaint exists regardless of whether Pfizer’s Sherman Act

claims are analyzed under a “rule-of-reason” or a “price-cost” test. The former assesses whether

the anticompetitive effects of the alleged conduct outweigh the procompetitive effects. See ZF

Meritor, 696 F.3d at 268. The latter focuses on whether the defendant’s pricing satisfied the

predatory pricing standards articulated in Brooke Group Ltd. v. Brown & Williamson Tobacco

Corp., 509 U.S. 209 (1993), which looks to whether the defendant discounted below cost with a

reasonable expectation of recouping those lost profits once the competitive threat is eliminated.




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See ZF Meritor, 696 F.3d at 269, 271 (citing Brooke Group). The Court need not resolve on this

motion which legal test should apply to the alleged conduct Pfizer has challenged4 because the

failure to plead antitrust injury or harm to competition is an essential element of any Sherman

Act claim. See Eisai, 821 F.3d at 398–99, 402.

        Here, by failing to plead that it is unable to compete with Janssen by offering its own

bundled discounts, Pfizer falls short of demonstrating that it has suffered antitrust injury due to

Janssen’s conduct or that the lower prices resulting from Janssen’s bundled discounts and rebates

have resulted in harm to competition.

        B.      Pfizer fails to allege it has offered competitive prices for Inflectra over
                Remicade
        In addition, Pfizer has failed to allege facts showing that it has offered net prices on

Inflectra to payors that were lower than Remicade’s or facts showing that it has been incapable of

doing so—as opposed to unwilling to do so. Central to Pfizer’s complaint are allegations that

Janssen has entered into contracts with payors (such as Aetna, Cigna, and United Healthcare) to

provide rebates and discounts in exchange for favorable formulary treatment for Remicade over

Inflectra. See supra at 6–7. But while Pfizer has included vague and conclusory allegations that

it is “prepared to negotiate with providers to make Inflectra the lower-price infliximab,” (Compl.

¶ 76 (emphasis added)), it does not make similar allegations that it is prepared to engage in

similar negotiations with payors. Indeed, Pfizer rests on the allegation that it set the list price

(i.e., the WAC) for Inflectra below that of Remicade. But list price is not a meaningful metric,

particularly as to payors, because it does not take into account the discounts or rebates

pharmaceutical manufacturers give to payors to secure favorable formulary placement relative to

competing drugs.
4
 In ZF Meritor, the Third Circuit noted that if the clearly predominant mechanism of competition was
price competition then the Brooke Group price-cost test should apply. See ZF Meritor, 696 F.3d at 275.



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       Therapeutic categories with numerous alternative branded drugs typically feature

significant price competition. That competition may be reflected in the WAC of competing

drugs. Compl. ¶ 2 n.1. But, as the complaint recognizes, price competition also typically takes

the form of discounts and rebates to market participants, such as payors and providers, that have

the ability to move market share. Pfizer’s reference to Remicade having a higher ASP then

Inflectra is misleading. As discussed above, ASP does not reflect current pricing because of

delays in reporting and because it incorporates an average of discounts and rebates for the prior

year including the reporting period. Thus, the ASPs referenced in the complaint incorporated

data from before Inflectra was even launched. Furthermore, ASP does not isolate the discounts

and rebates given to health insurers, as opposed to providers or other purchasers. For all of these

reasons, ASP does not serve as an accurate measure of whether net prices to payors are

increasing or decreasing.

       There are no specific facts pleaded in the complaint that indicate that Pfizer has attempted

to compete for payor contracts by offering rebates and discounts sufficient to make the net price

for Inflectra lower than the net price for Remicade—which is to say that there are no specific

facts showing that it has attempted to compete for preferred or comparable treatment to

Remicade. Pfizer’s failure to plead facts showing the extent to which Pfizer has offered rebates

and discounts to payors to gain favorable formulary status reveals a fundamental flaw in its

complaint. By ignoring price competition among payors, Pfizer has not even alleged facts

showing that Inflectra has a lower net price to payors (after all rebates and discounts) than

Remicade. As discussed above, Pfizer attempts to disguise this fatal shortcoming by referring to

Remicade’s ASP (which does not reflect current market data or isolate payor discounts and

rebates). But that tactic is transparently wrong and inadequate.




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         Pfizer cannot rescue the plausibility of its claim of injury by asserting in conclusory

fashion that it could not compete against Remicade’s net price because doing so would take

Inflectra’s net price below Pfizer’s cost of producing Inflectra. As an initial matter, such

allegations relate only to discounts on Inflectra and do not address Pfizer’s ability to offer multi-

product discounts as discussed above. More generally, Pfizer is not entitled to premise an

antitrust violation on its refusal to compete on price to win payor contracts and then simply

allege, without any facts, that it might be too costly to their bottom line to do so. See Iqbal, 556

U.S. at 678 (conclusory allegations are not sufficient) (citing Twombly, 550 U.S. at 555).

         For the same reasons as with bundled discounts, Pfizer’s failure to plead facts showing

that it cannot offer competitive discounts to payors dooms its claims. Pfizer has not alleged a

plausible antitrust injury where there are no facts that suggest it was precluded from competing

for the contracts at issue. See, e.g., Methodist Health Servs. Corp. v. OSF Healthcare Sys., 2016

U.S. Dist. LEXIS 136478, at *150 (C.D. Ill. Sept. 30, 2016) (“When the contracts are frequently

available, there is no possible antitrust injury, because all parties will have the opportunity to

compete.”), aff’d 859 F.3d 408 (7th Cir. 2017).

                                         CONCLUSION
         For the foregoing reasons, Pfizer’s complaint should be dismissed.

                                                    Respectfully Submitted,

Dated:     December 4, 2017                   By: /s/ Leslie E. John

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                                      CERTIFICATE OF SERVICE

        I hereby certify that on December 4, 2017, I electronically filed the foregoing brief in

support of Defendants’ Motion to Dismiss using the CM/ECF system, which will send

notification of such filing to all parties of record.



                                                              /s/ Leslie E. John




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